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                               UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                        MDL No. 2741
   LIABILITY LITIGATION
                                                  Case No. 16-md-02741-VC


   This document relates to:                      ORDER RE: MOTION FOR
                                                  SUMMARY JUDGMENT
   Reiser v. Monsanto Co., Case No. 21-cv-
   05220-VC                                       Re: Dkt. No. 17802




       On November 29, 2022, the Court denied without prejudice Monsanto’s previous motion

for summary judgment in this case, noting that Plaintiff Brenda Reiser’s attorney had been

suspended from legal practice in December 2021. Dkt. No. 15873. Reiser’s attorney, John

Blincow, had apparently failed to notify Reiser that his license had been suspended, and he had

not withdrawn from representing her. See id. The situation with Reiser’s counsel seemed to

explain why Reiser had failed to meet her discovery deadlines. To avoid punishing Reiser for her

attorney’s mistakes, the Court denied the summary judgment motion, moved the case from Wave

4D to Wave 7, directed the MDL lead plaintiffs’ counsel to assist Reiser with finding new

counsel, and directed the Clerk to provide the Court’s order to the South Carolina Commission

on Lawyer Conduct. Id.

       Over a year later, nothing appears to have happened with Reiser’s case. Blincow remains

listed as Reiser’s counsel on the docket. Monsanto has filed a renewed motion for summary

judgment on the same grounds—that Reiser has failed to disclose any experts on causation.
       Before granting the motion, the Court wants to be sure that Reiser has actually had the
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opportunity to find a new attorney. Plaintiffs’ lead counsel are directed to file a notice within 14

days explaining whether they complied with the November 29, 2022, order (Dkt. No. 15873) by

contacting Reiser and any other MDL plaintiffs represented by John Blincow, and, if they

complied, explaining what response they received. If lead counsel did not comply with the order,

they should make reasonable efforts to do so now and file a notice within 14 days describing

those efforts.

        The March 7, 2024, hearing on Monsanto’s motion for summary judgment is vacated.

        IT IS SO ORDERED.

Dated: February 8, 2024
                                              ______________________________________
                                              VINCE CHHABRIA
                                              United States District Judge




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